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                                                Attorneys for Plaintiffs and Counter-Defendants,
                                            6
                                                U.S. Marine Surveyors, Inc. and U.S. Vessel
                                            7   Documentation, and Counter-Defendant
                                                John Soria
                                            8

                                            9                      UNITED STATES DISTRICT COURT
                                           10                     CENTRAL DISTRICT OF CALIFORNIA
                                           11
LEE, HONG, DEGERMAN, KANG & WAIMEY
   660 South Figueroa Street, Suite 2300




                                                U.S. MARINE SURVEYORS, INC., a             CASE NO.: 2:16-cv-05360-PA- FFM
                                           12
       Los Angeles, California 90017




                                                California corporation; U.S. VESSEL
                                           13   DOCUMENTATION, a California
                                                corporation,                               DECLARATION OF DAVID N.
                                           14
                                                                                           MAKOUS (FIFTH) IN SUPPORT
                                           15               Plaintiffs,                    OF COUNTER-DEFENDANTS
                                                                                           U.S. MARINE SURVEYORS, INC.,
                                           16
                                                vs.                                        U.S. VESSEL DOCUMENTATION,
                                           17                                              WEBSITES DEPOT, INC. AND
                                                EDWARD RIENER, an individual;              JOHN SORIA’S REPLY IN
                                           18
                                                EDWARD RIENER D.B.A.                       SUPPORT OF COUNTER-
                                           19   ELEMENTAL WEB DESIGN, an                   DEFENDANTS’ MOTION FOR
                                                unknown entity,                            SUMMARY JUDGMENT
                                           20

                                           21               Defendants.
                                           22

                                           23   And related Counter-actions
                                           24

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                                                  DECLARATION OF DAVID N. MAKOUS (FIFTH) IN SUPPORT OF COUNTER-
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                                            1                DECLARATION (FIFTH) OF DAVID N. MAKOUS
                                            2         I, David Makous, hereby declare as follows:
                                            3         1.     I am an attorney duly admitted to practice in the State of California
                                            4   and before this Court. I am an attorney with Lee, Hong, Degerman, Kang &
                                            5   Waimey, attorneys of record for Plaintiffs and Counter-defendants in this action.
                                            6   The information contained in this declaration is based on my personal knowledge.
                                            7   If called as a witness, I could and would competently testify to the following
                                            8   matters.
                                            9         2.     I make this declaration in support of Counter-defendants U.S.
                                           10   Marine Surveyors, Inc. (“USMS”), U.S. Vessel Documentation (“USVD”),
                                           11   Websites Depot, Inc. and John Soria’s (collectively “Counter-defendants”) Reply
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                                           12   in Support of Counter-defendants’ Motion for Summary Judgment.
       Los Angeles, California 90017




                                           13         3.     On June 08, 2017, I took the deposition of Counterclaimant Edward
                                           14   Riener (“Riener”), Volume II. Attached hereto as Exhibit 1 are relevant portions
                                           15   of the certified copy of that deposition transcript and its exhibits.       For the
                                           16   convenience of the parties and the Court, I have prepared the following summary
                                           17   of the key portions of the testimony:
                                           18                i.     Riener admitted to receiving e-mails containing instructions
                                           19   from Maria Carlos (“Ms. Carlos”) in February 2016 directing him to make
                                           20   changes to the vesseldocumentation.us Website (the “Website”). (See Ex. 1, p.
                                           21   487, lns 16-22 and Exh. 87 thereto).
                                           22                ii.    Riener admitted that he responded to Maria Carlos in February
                                           23   2016 and stated that he would perform the work on the Website as instructed.
                                           24   (See id., p. 489, lns. 3-12 and Exh. 89 thereto).
                                           25                iii.   Riener further admitted to receiving additional instructions via
                                           26   e-mail from Ms. Carlos directing him to make further changes to the Website in
                                           27   March 2016. (See id., p. 489, lns. 13-19 and Exh. 90 thereto).
                                           28

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                                            1                iv.    Riener   admitted    that   he    received   additional   detailed
                                            2   instructions regarding changes to be made to the Website from John Soria in June
                                            3   2016. (See id., p. 489, lns. 20-25; p. 490, lns. 1-7 and Exh. 91 thereto);
                                            4                v.     Riener again admitted that as of July 03, 2016, there was only
                                            5   one e-mail in the “Eddy lawsuit” folder. (See id., p. 487, lns. 23-25; p. 488, lns
                                            6   17-25; p. 489, ln. 1 and Exh. 88 thereto);
                                            7         4.     On June 16, 2017, I took the deposition of Edward Riener, Volume
                                            8   III. Attached hereto as Exhibit 2 are relevant portions of the certified copy of
                                            9   that deposition transcript and its exhibits. For the convenience of the parties and
                                           10   the Court, I have prepared the following summary of the key portions of the
                                           11   testimony:
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                                           12                i.     Riener admitted that the earliest versions of the Website could
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                                           13   have gone live sometime before February 01, 2016 (See Ex. 2, p. 638, lns. 5-20
                                           14   and Exh. 254 thereto);
                                           15                ii.    Riener admitted that he could not recall when any of the three
                                           16   “questions” were posed on a live version of the Website (See id., p. 639, lns. 7-20
                                           17   and Exh. 254 thereto);
                                           18                iii.   Riener stated that he was not sure that he paid for the right to
                                           19   use any of the images used on the Website, nor could he state with certainty
                                           20   whether he had receipts for such payments. (See id., p. 640, lns. 16-25; p. 641,
                                           21   lns. 1-25; p. 642, lns. 1-21 and Exh. 254 thereto);
                                           22                iv.    Riener admitted that he filled out the Application for the
                                           23   copyright registration (the “Application”) of the Website on July 20, 2016. (See
                                           24   id., p. 646, lns. 14-24; p. 647, lns. 1-18 and Exh. 224 thereto);
                                           25                v.     Riener admitted that he placed the “Boat Documentation”
                                           26   logo on the Website on July 13th, 2016 and took a screenshot image of the same,
                                           27   which he included in his copyright registration application (See id., p. 654, lns.
                                           28   10-21, and Exh. 224 thereto). He also admitted that the Website was not titled

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                                                  DECLARATION OF DAVID N. MAKOUS (FIFTH) IN SUPPORT OF COUNTER-
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                                            1   “Boat Documentation US” as of February 02, 2016 – the date he listed as the date
                                            2   of first publication on the Application. (See id., p. 661, lns. 7-24 and Exh. 224
                                            3   thereto);
                                            4                vi.     Riener     admitted   that   he   did   not   create   the   “Boat
                                            5   Documentation” logo and that Allen Larson did. (See id., p. 656, lns. 1-10; p.
                                            6   675, lns. 19-25 and Exh. 224 thereto).
                                            7                vii.    Riener admitted that he made “a lot of modifications” to the
                                            8   Website content between July 01 and July 13, 2016 (See id., p. 657, lns. 7-11 and
                                            9   Exh. 224 thereto). He also admitted that he might have added or removed images
                                           10   from the Website’s sidebar menu during that time. (See id., p. 658, lns. 17-20 and
                                           11   Exh. 224 thereto).
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                                           12                viii. Riener admitted that the deposit material he submitted with
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                                           13   the Application did not reflect the same material on the Website that was in
                                           14   existence as of February 02, 2016. (See id., p. 665, lns. 21-25; p. 666, lns. 1-3
                                           15   and Exh. 224 thereto);
                                           16                ix.     Riener admitted that he does not own, nor did he create, all of
                                           17   the text on the Website (See id., p. 668, lns. 6-8 and Exh. 224 thereto);
                                           18                x.      Riener admitted that he cannot recall what evaluation he
                                           19   conducted when he stated on the Application that the Website was not a “work
                                           20   made for hire.” (See id., p. 671, lns. 10-23 and Exh. 224 thereto);
                                           21                xi.     Riener admitted that various contents of the Website were
                                           22   acquired from multiple other sources, including:
                                           23                        -        The Boat Documentation logo (See id. at p. 675, lns. 9-
                                           24   25 and Exh. 224 thereto (admitting that Allen Larson created “Boat
                                           25   Documentation” logo);
                                           26                        -     Several photographs and/or images (See id. at p. 677,
                                           27   lns. 7-24 (admitting that several photographs came from third-party sources, such
                                           28   as 123RF);

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                                            1                       -     Several PDF forms (See id. at p. 678, lns. 4-11
                                            2   (admitting that at least some PDF forms came from the U.S. Coast Guard
                                            3   website); p. 683, lns. 1-5, p. 685, lns. 1-11; p. 685, lns. 22-25 and Exh. 224)
                                            4   (admitting that several other forms were generated by “Gravity Forms”, a “widely
                                            5   used” platform to implement standard forms for websites));
                                            6                xii.   Riener admitted that the Website did not contain forms from
                                            7   Gravity Forms as of February 02, 2016. (See id., p. 684, lns. 19-22 and Exh.
                                            8   224).
                                            9           5.   On June 19, 2017, I took the deposition of Counterclaimant Edward
                                           10   Riener Volume IV. Attached hereto as Exhibit 3 are relevant portions of the
                                           11   certified copy of that deposition transcript and its exhibits. For the convenience
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                                           12   of the parties and the Court, I have prepared the following summary of the key
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                                           13   portions of the testimony:
                                           14                i.     Riener stated that he merely “entered text”, and could not state
                                           15   definitively that he is the sole author of the three “questions” on the Website
                                           16   homepage, or that he formulated those question without input from anyone else.
                                           17   (See Ex. 3, p. 753, lns. 10-25; p. 754, lns. 1-25; p. 755, lns. 1-23 and Exh. 229
                                           18   thereto);
                                           19                ii.    Riener admitted that he did not have a license to use the image
                                           20   of the yacht on the Website homepage, and that he “just pulled . . . from a boat
                                           21   brochure or some place on Google.” (See id., p. 762, lns. 7-21 and Exh. 229
                                           22   thereto);
                                           23                iii.   Riener admitted that he does not actually own the rights to any
                                           24   of the images used on the Website homepage. (See id., p. 763, lns. 20-25; p. 764,
                                           25   lns. 1-14 and Exh. 229 thereto);
                                           26                iv.    Riener admitted that there is nothing similar to the Boat
                                           27   Documentation logo on Counter-defendants new uscgdocumentation.us website
                                           28   (See id., p. 765, lns. 14-18 and Exh. 229 thereto);

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                                            1                   v.     Riener admitted that there is nothing similar to the “Azimut
                                            2   685” image on Counter-defendants new uscgdocumenation.us website. (See id.,
                                            3   p. 765, lns. 19-25 and Exh. 229 thereto);
                                            4                   vi.    Riener admitted that many of the images on the Website are
                                            5   different from the images on Counter-defendants new uscgdocumentation.us
                                            6   website (See id., p. 766, lns. 10-25; p. 768, ln. 16; p. 769, ln. 3 and Exh. 229
                                            7   thereto);
                                            8                   vii.   Riener admitted that much of the text used on the Website was
                                            9   actually created by the United States Coast Guard (See id., p. 776, lns. 2-9 and
                                           10   Exh. 229 thereto);
                                           11                   viii, Riener admitted that much of the overall arrangement of both
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                                           12   websites’ respective homepages is entirely different in terms of spacing, font,
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                                           13   formatting, and location.      (See id., p. 780, lns. 1-25; p. 781, lns. 1-11 and Exh.
                                           14   229 thereto).
                                           15         6.        Attached hereto as Exhibit 4 is a true and correct copy of Copyright
                                           16   Office Circular 32, available at https://www.copyright.gov/circs/circ32.pdf.
                                           17         I declare under penalty of perjury of the laws of the State of California and
                                           18   the United States of America that the foregoing is true and correct to the best of
                                           19   my knowledge.
                                           20         Executed this 3rd day of July, 2017, at Los Angeles, California.
                                           21                                                   /s/ David N. Makous
                                           22                                                   David N. Makous
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